Case 1:12-cv-11416-WGY Document 50 Filed 04/18/13 Page 1 of 4
Case 1:12-cv-11416-WGY Document 50 Filed 04/18/13 Page 2 of 4
Case 1:12-cv-11416-WGY Document 50 Filed 04/18/13 Page 3 of 4
         Case 1:12-cv-11416-WGY Document 50 Filed 04/18/13 Page 4 of 4



                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document has been filed through the ECF system, will
be sent electronically to those identified as registered participants on the Notice of Electronic
Filing, and by first-class mail to those identified as non-registered participants.

                                             /s/ Marc C. Laredo
                                             Marc C. Laredo

Dated: April 18, 2013
